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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :   CRIMINAL NO. 1:21-CR-26
                                             :
               v.                            :   (Judge Conner)
                                             :
ROHAN LYTTLE,                                :
                                             :
                     Defendant               :

                                         ORDER

      AND NOW, this 14th day of September, 2021, upon consideration of the

motion (Doc. 48) to withdraw as counsel filed by Andrew Rendeiro, Esquire, and

Christopher Wright, Esquire, who have been retained by defendant Rohan Lyttle

as counsel in the above-captioned action, as well as the court’s order (Doc. 48) of

August 19, 2021, holding counsel’s motion in abeyance, given continuity of counsel

concerns, pending receipt and review of an updated financial affidavit from Lyttle

or notification from Lyttle that he does not seek appointment of counsel and instead

intends to retain successor counsel, and further upon consideration of counsel’s

letters (Docs. 50, 51) advising the court that Lyttle has reported that he has retained

new counsel but has, to date, declined to disclose the identity of same, and the court

noting that Lyttle has not advised the court of his intent to retain successor counsel,

nor has successor counsel entered an appearance on Lyttle’s behalf, it is hereby

ORDERED that:

      1.       On or before Tuesday, September 28, 2021, Lyttle shall either (1)
               obtain qualified counsel and direct counsel to enter an appearance in
               the above-captioned action, or (2) file with the court a notice of intent
               to proceed pro se.
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2.       If Lyttle fails to comply with the requirements set forth in paragraph 1,
         the court will schedule a hearing and direct Lyttle to show cause why
         he should not be deemed to have elected to proceed pro se.

3.       The Clerk of Court is directed to mail a copy of this order to Lyttle.




                                    /S/ CHRISTOPHER C. CONNER
                                    Christopher C. Conner
                                    United States District Judge
                                    Middle District of Pennsylvania
